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                                                                                  October 8, 2009




For:       LINDSEY KENT SPRINGER


To:        DOJ
           USA
           TULSA OK
           USA


      Sales Person:                69
      Locator:                     KTMKUL
      Customer Number:             DOJALT
      NOTE-THE SERVICE FEE IS THE TRAVEL MGMT CTR
      TRANSACTION FEE BILLED TO YOUR AGENCY. DO NOT
      CLAIM THIS AMOUNT ON YOUR TRAVEL VOUCHER. CLAIM
      ONLY THE TICKET COST TO YOUR INDIVIDUAL TRAVEL
      CARD AS INDICATED BY THE LAST FOUR DIGITS OF YOUR
      CARD NUMBER.
      ***********************************************
      TD-YOUR RESERVATION WILL BE TICKETED ON 13OCT
      GF-TOTAL OFFICIAL FARE IS 412.90
      *TICKET PURCHASE WITH CA.......9018*
      *THIS DOCUMENT BECOMES AN INVOICE WHEN THE PASSENGER
      *NAME/INVOICE AND TICKET NUMBERS APPEAR
      *IN THE PRICING BOX
      ***************************************


      Thursday October 15, 2009
           American Airlines                        Flight Number: 1008
           Class of Service:Coach Class Y
           Depart: TULSA, OK                        12:50 Pm October 15, 2009
           Arrive: DALLAS/F.WORTH,TX                2:00 Pm October 15, 2009
           Total Flight Time:                       1 Hour 10 Minutes Non-Stop
           Equipment: McDonnell Douglas MD-80
           Meal Service: None
           Status: Confirmed                        Confirmation Number: KTMKUL
           Reserved Seat: SPRINGER/LINDSEY KENT   17E
           ONEWORLD


      Thursday October 15, 2009
           American Airlines                        Flight Number: 2449
           Class of Service:Coach Class Y
           Depart: DALLAS/F.WORTH,TX                3:35 Pm October 15, 2009
           Arrive: LOS ANGELES,CA                   4:45 Pm October 15, 2009
           Total Flight Time:                       3 Hours 10 Minutes Non-Stop
           Equipment: McDonnell Douglas MD-80
           Meal Service: Available For Purchase
           Status: Confirmed                        Confirmation Number: KTMKUL
           Reserved Seat: SPRINGER/LINDSEY KENT   30E
           ARR-TERMINAL 4
           ONEWORLD


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       Thursday October 15, 2009
             LOS ANGELES,CA
             CROWNE PLAZA CROWNE PLAZA AIRPORT
             5985 CENTURY BLVD
             LOS ANGELES CA 90045
             Phone Number: 1-310-642-7500
             Fax Number: 1-310-417-3608
             Number of Rooms: 1
             Rate: 128.00 USD Per Night
             Check In: Oct 15, 2009
             Check Out: Oct 16, 2009
             Confirmation Number: 67968087
             Cancellation Policy: Cancel by 6PM


       Friday October 16, 2009
             American Airlines                                           Flight Number: 2456
             Class of Service:Coach Class Y
             Depart: LOS ANGELES,CA                                      4:35 Pm October 16, 2009
             Arrive: DALLAS/F.WORTH,TX                                   9:30 Pm October 16, 2009
             Total Flight Time:                                          2 Hours 55 Minutes Non-Stop
             Equipment: 738
             Meal Service: Available For Purchase
             Status: Confirmed                                           Confirmation Number: KTMKUL
             Reserved Seat: SPRINGER/LINDSEY KENT                      19E
             DEP-TERMINAL 4
             ONEWORLD


       Friday October 16, 2009
             American Airlines                                           Flight Number: 1410
             Class of Service:Coach Class Y
             Depart: DALLAS/F.WORTH,TX                                   10:10 Pm October 16, 2009
             Arrive: TULSA, OK                                           11:05 Pm October 16, 2009
             Total Flight Time:                                          55 Minutes Non-Stop
             Equipment: McDonnell Douglas MD-80
             Meal Service: None
             Status: Confirmed                                           Confirmation Number: KTMKUL
             ONEWORLD



Name                                                Invoice / Ticket           Base        Tax1        Tax2            Tax3     Total
                                                                           346.04USD     25.96US     14.40ZP        26.50XT    412.90




                                                                                                               Total Amount:   412.90




 ******************************************************
 *******TO BOOK RESERVATIONS ONLINE PLEASE VISIT*******
 *****************CWTSATOTRAVEL.COM********************
 ********** IMPORTANT TSA INFORMATION *************
 THE TRANSPORTATION SECURITY ADMINISTRATION OF THE
 US DEPARTMENT OF HOMELAND SECURITY REQUIRES US TO
 COLLECT INFORMATION FROM YOU FOR THE PURPOSE OF WATCH
 LIST SCREENING UNDER THE AUTHORITY OF 49 U.S.C.
 SECTION 114, AND THE INTELLIGENCE REFORM AND

                                                                           Page 2 of 3
           Case 4:09-cr-00043-SPF Document 196-2 Filed in USDC ND/OK on 10/14/09 Page 3 of 3
TERRORISM PREVENTION ACT OF 2004. PROVIDING THIS
INFORMATION IS VOLUNTARY HOWEVER IF IT IS NOT PROVIDED
YOU MAY BE SUBJECTED TO ADDITIONAL SCREENING OR DENIED
TRANSPORT OR AUTHORIZATION TO ENTER A STERILE AREA. TSA
MAY SHARE INFORMATION YOU PROVIDE WITH LAW ENFORCEMENT
OR INTELLIGENCE AGENCIES OR OTHERS UNDER ITS PUBLISHED
SYSTEM OF RECORDS NOTICE. FOR MORE ON TSA PRIVACY
POLICIES, OR TO VIEW THE SYSTEM OF RECORDS NOTICE
AND THE PRIVACY IMPACT ASSESSMENT, PLEASE SEE TSA‡S
WEB SITE AT WWW.TSA.GOV
........ THANK YOU FOR USING CWTSATOTRAVEL ..........
......YOUR REFERENCE CODE IS *** SABRE OV4C ......
***************************************************
PLEASE CALL LOCAL OFFICE DURING NORMAL BUSINESS HOURS
TOLL FREE NUMBER 877-905-9644 MON-FRI 700A-700P CST
FOR AFTER HOURS EMERGENCY SERVICE IF TRAVEL IS WITHIN
24 HOURS CALL 1-877-905-9644 AND PRESS OPTION 1
.....................................................
****IF INTERNATIONAL 800 NUMBER DOES NOT WORK PLEASE***
******* CALL COLLECT TO 210-877-3337 **************
.......................................................
CONTRACT CARRIER CITY PAIR FARES DO NOT REQUIRE
ADVANCE PURCHASE. ALL OTHER FARES MAY REQUIRE ADVANCE
PURCHASE AND ARE NOT GUARANTEED UNTIL TICKETED
.......................................................
TRANSACTION FEES ARE NONREFUNDABLE
.......................................................
UNUSED PAPER TICKETS MUST BE RETURNED TO CWTSATOTRAVEL
CONTACT CWTSATOTRAVEL TO REFUND ELECTRONIC TICKETS
.......................................................
GOVERNMENT ISSUED ID IS REQUIRED
.......................................................
.......................................................
      TO VIEW ITINERARIES ONLINE PLEASE GO TO
............*** WWW.VIRTUALLYTHERE.COM ***.............
 ADD YOUR SABRE RESERVATION CODE, NAME, AND EMAIL IN
         THE APPROPRIATE BOXES AND ENTER.
.......................................................
...... DON*T FORGET TO CALL THE VACATION CENTER ......
.... AT 1-877-698-2554 TO BOOK YOUR NEXT VACATION....
.......... GO TO SATOVACATIONS.COM TODAY ........
...... AND SIGN UP FOR THE VACATION NEWSLETTER......
NO CODESHARE OR COMMUTER FLIGHTS ON THIS ITIN
-----------------------IF CANCELLING------------------
CANCEL BEFORE 6PM LOCAL HOTEL TIME ON ARRIVAL DATE OR
CREDIT CARD WILL BE BILLED
PASSENGER REQUESTED THE USE OF THE CBA - DAVID DERRINGTON




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